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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION

ROSENDIN HOLDINGS, INC. AND                     )
MODULAR POWER SOLUTIONS, LLC,                   )
                                                ) CASE NO. 2:21-cv-00192-Z
                Plaintiff,                      )
                                                )
          vs.                                   )
                                                ) JUDGE MATTHEW J. KACSMARYK
ATI TRUCKING LLC, GREENTREE                     )
TRANSPORTATION COMPANY, AND                     )
CHESTER SULLIVAN, JR. D/B/A                     )
SULLIVAN TRUCKING,                              )
                                                )
                Defendant.                      )

          DEFENDANT ATI TRUCKING, LLC’S MOTION TO DISMISS IN PART

          Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendant ATI

Trucking, LLC (“ATI”), respectfully requests that the Court dismiss the Negligence Count of the

Complaint of Plaintiff Rosendin Holdings, Inc. and Plaintiff Modular Power Solutions, LLC

(collectively, “Plaintiffs”) for failure to state a claim upon which relief can be granted on the

ground that Plaintiffs’ claim is preempted by either the Carmack Amendment, the Federal Aviation

Administration Authorization Act (“FAAAA”), or both. A memorandum in support is attached

hereto.




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                                                       Respectfully submitted,
OF COUNSEL:
                                                       /s/ Annie J. Jacobs
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        MEMORANDUM OF LAW IN SUPPORT OF ATI’S MOTION TO DISMISS

I.      STATEMENT OF FACTS AND PROCEDURAL HISTORY

        This action arises out of the interstate transportation of Plaintiffs’ goods. See Petition at ¶

9.    Specifically, Plaintiffs allege that, in August 2019, Plaintiffs hired ATI and Greentree

Transportation Company (“Greentree”) to transport electrical equipment from Sherman, Texas to

Prineville, Oregon. Id. Plaintiffs allege that, during the transportation, ATI and Greentree

damaged the electrical equipment. Id. at ¶¶ 12-13. On August 13, 2021, Plaintiffs filed their

Original Petition in the 100th Judicial District Court of Donley County, Texas, asserting claims

for negligence and for liability under the Carmack Amendment against ATI and Greentree. See

generally Petition at ¶¶ 14-19. Plaintiffs’ negligence claim is premised on ATI’s and Greentree’s

alleged negligent hiring, training, supervision, and retention of non-party Chester Sullivan, Jr.

d/b/a Sullivan Trucking (“Sullivan”), who allegedly transported Plaintiffs’ shipment on behalf of

ATI or Greentree. Id. ATI and Greentree were served with a citation and a copy of the Original

Petition on August 18, 2021. On September 16, 2021, with ATI’s consent, Greentree removed the

case to this Court pursuant to 28 U.S.C. §§ 1331, 1441(a), and 1446.




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II.     LAW AND ARGUMENT

        The Court should dismiss Plaintiffs’ negligence count for failure to state a claim upon

which relief can be granted because the Carmack Amendment, 49 U.S.C. § 14706, preempts state

law tort claims to the extent Plaintiffs allege ATI is a motor carrier. Further, to the extent Plaintiffs

allege ATI is a “freight broker,” the Federal Aviation Administration Authorization Act (the

“FAAAA”), 49 U.S.C. § 14501(c)(1), preempts Plaintiffs’ extracontractual claim for negligence.

Plaintiffs have failed to allege ATI breached any contractual obligations to Plaintiffs; therefore,

the Court should dismiss the negligence claim against ATI.

        A.      Standard of Review.

        Rule 12(b)(6) of the Federal Rules of Civil Procedure provides for dismissal of a complaint

for “failure to state a claim upon which relief may be granted.” “To survive a motion to dismiss,

a complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that

is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp.

v. Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Id. (citing Twombly, 550 U.S. at 556). “Threadbare recitals of the

elements of a cause of action, supported by mere conclusory statements, do not suffice.” Id. (citing

Twombly, 550 U.S. at 555). On a motion to dismiss, the Court is “not bound to accept as true a

legal conclusion couched as a factual allegation.” Twombly, 550 U.S. at 555. Rather, conclusory

statements and inferences are insufficient to defeat a motion to dismiss for failure to state a claim.

See Kelson v. Clark, 1 F.4th 411, 416 (5th Cir. 2021). As set forth below, Plaintiffs’ negligence

claim does not and cannot meet this standard because it is preempted by federal law.




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          B.     The Carmack Amendment Expressly Preempts Plaintiffs’ Tort Claim Against
                 ATI.

          To the extent Plaintiffs allege that ATI is a motor carrier, the Court must dismiss the

negligence count because the Carmack Amendment preempts Plaintiff’s state law claims. The

Carmack Amendment provides that a motor carrier transporting property in interstate commerce

is liable only for the “actual loss or injury to the property.” See 49 U.S.C. § 14706(a)(1). For

over 100 years, courts have uniformly held that the Carmack Amendment, as part of a

comprehensive and uniform legislative scheme, preempts all state statutory and common law

claims against a motor carrier for loss and damage to goods moving in interstate commerce. Adams

Express Co. v. Croninger, 226 U.S. 491, 33 S. Ct. 148, 57 L. Ed. 314 (1913); see e.g., New York,

N.H. & H. R. Co. v. Nothnagle, 346 U.S. 128, 132, 73 S. Ct. 986, 57 L. Ed. 1500(1953) (stating

“with the enactment in 1906 of the Carmack Amendment, Congress superseded diverse state laws

with a national uniform policy governing interstate carriers’ liability for property loss.”); Thurston

Motor Lines, Inc. v. Jordan K. Rand, Ltd., 460 U.S. 533, 535, 103 S. Ct. 1343, 75 L. Ed. 2d 260

(1983).

          Additionally, every United States Court of Appeals that has considered the issue, including

the Fifth Circuit, has concluded that “[t]he Carmack Amendment completely preempts state law

claims against interstate carriers based on loss or damage to shipped goods. Hoskins v. Bekins

Van    Lines,     343   F.3d   769,   778    (5th   Cir.   2003).   (emphasis    added)    (“Because

the Carmack Amendment provides the exclusive cause of action for [cargo loss claims], such

claims ‘only arise under federal law.’”); Rini v. United Van Lines, Inc., 104 F.3d 502, 505 (1st Cir.

1997); Cleveland v. Beltman N. Am. Co., Inc., 30 F.3d 373, 378 (2nd Cir. 1994); and, Moffit v.

Bekins Van Lines Co., 6 F.3d 305, 307 (5th Cir. 1993).

          Furthermore, the United States Circuit Courts of Appeals that have considered the


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preemptive scope of the Carmack Amendment have unanimously held that the Carmack

Amendment’s broad preemptive effect extends to all state law claims arising from the

transportation and delivery of goods, whether such claims contradict or supplement Carmack

remedies. W.D. Lawson & Co. v. Penn Cent. Co., 456 F.2d 419, 421 (6th Cir. 1972) (emphasis

added) (“As to the … issue …[of] whether or not the Carmack Amendment preempted common

law suits … we hold that it did”); Smith v. United Parcel Serv., 296 F.3d 1244, 1247 (11th Cir.

2002) (“Because the [plaintiffs] base all of their [state law tort] claims on allegations concerning

UPS’s failure to provide them with transportation and delivery services, the Carmack Amendment

preempts their claims”); Rini at 506 (holding that “[shipper’s] state law claims [of negligence and

misrepresentation] are preempted by the Carmack Amendment”); Cleveland at 379 (stating that

one of the primary purposes of the Carmack Amendment is to provide uniformity in the disposition

of claims brought under a bill of lading); Shao v. Link Cargo (Taiwan) Ltd., 986 F.2d 700, 706-07

(4th Cir. 1993) (“[T]he Carmack Amendment was intended by Congress to create a national

uniform policy regarding the liability of carriers under a bill of lading for goods lost or damaged

in shipment”); Moffit at 306-07 (holding that the Carmack Amendment preempted state law claims

including intentional and negligent infliction of emotional distress, breach of contract,

misrepresentation, fraud, negligence and gross negligence) (emphasis added); Hughes Aircraft v.

N. Am. Van Lines, 970 F.2d 609, 613 (9th Cir. 1992) (“Hughes wisely concedes that federal law

preempts any state common law action against North American acting solely as a common carrier.

It is clear that the Carmack Amendment established a uniform national policy for interstate

carriers”); Underwriters at Lloyds of London v. N. Am. Van Lines, 890 F.2d 1112, 1121 (10th Cir.

1989) (“[W]e . . . hold that the Carmack Amendment preempts state common law remedies against

common carriers for negligent loss or damage to goods shipped under a lawful bill of lading”);



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Hughes, 829 F.2d at 1415 (“We . . . hold that the remedy provision of the Carmack Amendment

preempts all state and common law remedies inconsistent with the Interstate Commerce Act . . .

.”); Air Products & Chemicals, Inc. v. Illinois Cent. Gulf R. Co., 721 F.2d 483, 484-85 (5th Cir.

1983) (“[T]he Carmack Amendment, as judicially interpreted, provides an exclusive remedy for a

breach of a contract of carriage provided by a bill of lading . . .”).

        Congress plainly intended to create a national scheme regarding motor carrier liability for

loss and damage to freight moving in interstate commerce. The Adams Court held that “[a]lmost

every detail of the subject [interstate motor carrier liability under a bill of lading] is covered so

completely that there can be no rational doubt that Congress intended to take possession of the

subject and supersede all state regulation with reference to it.” Adams at 505-506.

        As a result of this broad and all-encompassing preemption, Plaintiffs’ negligence claim

against ATI fails to state a claim upon which relief may be granted and, therefore, should be

dismissed. Indeed, the Fifth Circuit has held that “Congress intended for the Carmack Amendment

to provide the exclusive cause of action for loss or damages to goods arising from the interstate

transportation of those goods by a common carrier.” Hoskins, 343 F.3d at 778 (emphasis in

original). Because the Carmack Amendment provides the exclusive cause of action for loss or

damage to good during interstate transport by a motor carrier, Plaintiffs’ negligence claim against

ATI must be dismissed.

        C.      The FAAAA Expressly Preempts Plaintiffs’ Tort Claim Against ATI.

        Plaintiffs’ negligence claim against ATI is premised on, among other things, negligent

hiring, training, supervision, and retention of non-party Sullivan. To the extent that Plaintiffs

allege ATI is a transportation broker, the FAAAA preempts all state law claims—other than breach




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of express contract—against motor carriers, transportation brokers, and freight forwarders. The

FAAAA provides, in pertinent part:

        Except as provided in paragraphs (2) and (3), a State, political subdivision of a
        State, or political authority of 2 or more States may not enact or enforce a law,
        regulation, or other provision having the force and effect of law related to a price,
        route, or service of any motor carrier…broker, or freight forwarder with respect to
        the transportation of property.

49 U.S.C § 14501(c)(1).

        Congress deregulated the trucking industry in 1980. S.C. Johnson & Son, Inc. v. Transp.

Corp. of Am., Inc., 697 F.3d 544, 548 (7th Cir. 2012) (citing the Motor Carrier Act of 1980, Pub.L.

No. 96-296, 94 Stat. 793). This did not, however, stop states from enacting and enforcing laws

affecting prices, routes, and services provided by motor carriers. So, on August 23, 1994, the U.S.

Congress enacted the FAAAA. The FAAAA amended the Interstate Commerce Act, effective

January 1, 1995. Pub. L. No. 103-305, 108 Stat. 1569, 1607 (1994). Among other things, the

FAAAA expressly preempted a wide variety of state and local regulations and state law claims

affecting motor carriers. See Section 601 of the FAAAA (originally codified at 49 U.S.C.

§ 11501(h)). Further, on December 29, 1995, the U.S. Congress enacted the Interstate Commerce

Commission Termination Act (the “ICCTA”), effective January 1, 1996. Pub. L. No. 104-88, 109

Stat. 803, 804. Section 103 of the ICCTA recodified former 49 U.S.C. § 11501(h) as 49 U.S.C.

§ 14501(c). In addition, the ICCTA also expanded federal preemption under the FAAAA to

include preemption of claims not only against motor carriers but also against transportation brokers

in particular. H.R. Rep. No. 311, 104th Cong., 1st Sess. 119-20 (1995), reprinted in 1995

U.S.C.C.A.N. 793, 831-32.

        The preemptive language in the FAAAA is nearly identical to the preemptive provision

found in the Airline Deregulation Act (“ADA”), which the United States Supreme Court has held

to preempt all state law causes of action except breach of contract claims. American Airlines, Inc.

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v. Wolens, 513 U.S. 219, 232-33 (1995); Morales v. TransWorld Airlines, 504 U.S. 374, 384

(1992); accord, e.g., Lyn-Lea Travel Corp. v. Am. Airlines, Inc., 283 F.3d 282, 287 (5th Cir. 2002);

Read-Rite Corp. v. Burlington Air Express, Ltd., 186 F.3d 1190, 1197 (9th Cir. 1999). In

incorporating the ADA’s preemption language into the FAAAA, Congress intended the FAAAA

to preempt state laws relating to trucking. Rowe v. New Hampshire Motor Transport Assoc., 552

U.S. 364, 370-71 (2008) (“Congress similarly sought to pre-empt state trucking regulation. [] In

doing so, it borrowed language from the [ADA] and wrote [it] into [the FAAAA].”) (citations

omitted).

        Accordingly, courts throughout Texas and across the country have squarely held that any

state law claims against a transportation broker that relate to the broker’s services with respect to

the transportation of property are preempted by the FAAAA, except for a cause of action for breach

of contract. Wise Recycling, LLC v. M2 Logistics, 943 F. Supp. 2d 700, 704-05 (N.D. Tex. 2013)

(“49 U.S.C. § 14501 preempts all state law claims except for ordinary breach of contract claims.”);

see also Chatelaine, Inc. v. Twin Modal, Inc. 737 F. Supp. 2d 638, 643 (N.D. Tex. 2010) (“49

U.S.C. § 14501 broadly preempts state law claims regulating interstate transportation of goods,

and Chatelaine’s state law claims other than breach of contract against Twin Modal are

preempted[.]”); Huntington Operating Corp. v. Sybonney Express, Inc., No. H-08-781, 2010 U.S.

Dist. LEXIS 55591, *7 (S.D. Tex. May 11, 2010) (“In short, 49 U.S.C. § 14501 broadly preempts

state law claims that would regulate interstate transportation of goods.”); JRP International, Inc.

v. Landa Group, Inc., No. 7:17-CV-263, 2018 WL 4334017, *4 (S.D. Tex. March 1, 2018)

(Shipper’s negligence claim, seeking recovery for purely economic damages, fell under the

“FAAAA’s preemption clause which generally preempts state enforcement actions that have




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connection with, or reference to, a carrier or broker’s services.”).1In short, the FAAAA

categorically preempts all extra-contractual causes of action for cargo loss or damage against a

freight broker. Therefore, to the extent Plaintiffs allege ATI is a freight broker, Plaintiffs’

negligence claim against ATI must be dismissed.

III.    CONCLUSION

        Plaintiffs’ negligence claim against ATI fails to state a claim upon which relief can be

granted. To the extent Plaintiffs allege ATI is a motor carrier, their common law negligence claim

is preempted by the Carmack Amendment and must be denied. To the extent Plaintiffs allege ATI

is a transportation broker, their common law negligence claim, which by its nature is extra-

contractual, is preempted by the FAAAA and must be dismissed. Therefore, ATI respectfully

requests this Court grant its motion to dismiss and issue an order dismissing Plaintiffs’ negligence

claim against ATI, with prejudice.

October 21, 2021                                                     Respectfully submitted,

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 Accord, e.g., Kashala v. Mobility Servs. Int’l, LLC, No. 07-40107, 2009 WL 2144289, *5-6 (D. Mass. May 12, 2009)
(granting summary judgment in favor of transportation broker on negligence claim due to FAAAA preemption); see
generally Deerskin Trading Post, Inc. v. United Parcel Service of America, Inc., 972 F.Supp. 665, 669 (N.D. Ga.
1997) (providing detailed description of history of the ADA/FAAAA preemption); Kashala v. Mobility Servs. Int’l,
LLC, No. 07-40107, 2009 WL 2144289 (D. Mass. May 12, 2009) (transportation broker entitled to judgment as a
matter of law on negligence claim due to FAAAA preemption).

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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the forgoing document has been served on

all appearing counsel of record via the Court’s CM/ECF filing system on the following:

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I further certify that a true and correct copy of the forgoing document has been served via Regular

U.S. Mail on this 21st day of October 2021, to:


        Chester Sullivan, Jr. d/b/a Sullivan Trucking
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        Elizabethton, TN 37643

                                                        /s/ Annie J. Jacobs
                                                        Annie J. Jacobs




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